                 Case 2:24-cv-00154-KKE Document 1 Filed 02/05/24 Page 1 of 11




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 7                                 UNITED STATES DISTRICT COURT
 8                             WESTERN DISTRICT OF WASHINGTON
 9

10
      BRIAN W.                                       Case No.
11
                      Plaintiff,                     PLAINTIFF BRIAN W.’S COMPLAINT
12                                                   FOR BREACH OF THE EMPLOYEE
      v.                                             RETIREMENT INCOME SECURITY
13
      PREMERA BLUE CROSS OF                          ACT OF 1974 (ERISA); BREACH OF
14                                                   FIDUCIARY DUTY; ENFORCEMENT
      WASHINGTON; and DOES 1 through
15    10,                                            AND CLARIFICATION OF RIGHTS;
                                                     PREJUDGMENT AND POSTJUDGMENT
16                    Defendants.                    INTEREST; AND ATTORNEYS’ FEES
17                                                   AND COSTS

18

19

20          Plaintiff BRIAN W. herein sets forth the allegations of this Complaint against Defendant

21   PREMERA BLUE CROSS OF WASHINGTON; and DOES 1 through 10.

22
                                      PRELIMINARY ALLEGATIONS
23
                                               JURISDICTION
24
            1.       Plaintiff brings this action for relief pursuant to Section 502(a)(1)(B) and Section
25
     502(a)(3) of the Employee Retirement Income Security Act (“ERISA”), 29 U.S.C. Section 1132(a)(1)(B)
26
     and (a)(3). This Court has subject matter jurisdiction over Plaintiff’s claim pursuant to ERISA Section
27                                                  1
     COMPLAINT                                                        MONAHAN TUCKER LAW, PC
28   Case No.:                                              14241 NE Woodinville-Duvall Road, Suite 382
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                   Case 2:24-cv-00154-KKE Document 1 Filed 02/05/24 Page 2 of 11




 1   502 (e) and (f), 29 U.S.C. Section 1132 (e), (f), and (g) and 28 U.S.C. Section 1331 as it involves a claim
 2   made by Plaintiff for employee benefits under an employee benefit plan regulated and governed under
 3   ERISA. Jurisdiction is predicated under these code sections as well as 28 U.S.C. Section 1331 as this
 4   action involves a federal question.
 5            2.       This action is brought for the purpose of recovering benefits under the terms of an
 6   employee benefit plan and enforcing Plaintiff’s rights under the terms of an employee benefit plan.
 7            3.       Plaintiff seeks relief, including but not limited to: past mental health benefits in the correct
 8   amount related to Defendant’s improper denial of Plaintiff’s claim; prejudgment and post judgment
 9   interest; general and special damages; attorneys’ fees and costs; surcharge; injunctive relief, and any
10   other form of equitable relief that may arise during the pendency of this action and that the Court may
11   deem appropriate.
12                                                       PARTIES
13            4.       Plaintiff BRIAN W. is, and at all times relevant was, a resident of Washington.
14            5.       Defendant PREMERA BLUE CROSS OF WASHINGTON (“Premera”) is a health
15   insurance provider authorized to transact and currently transacting the business of insurance in the State
16   of Washington.
17            6.       At all relevant times, BRIAN W. participated in an employee welfare benefit plan within
18   the meaning of ERISA section 3(1), 29 U.S.C. § 1002(1), sponsored by his employer.
19            7.       The plan’s health benefits were fully insured through a policy issued by Premera, the
20   Information Technology Industry Health Trust Your Choice Titanium 200 Heritage Network (“The
21   Plan”)
22            8.       Mental Health benefits under the Plan were at all relevant times administered by
23   Defendant Premera and/or its third-party services administrator.
24            9.       At all relevant times, the Plan was an insurance plan that offered, inter alia, mental health
25   benefits to employees and their beneficiaries, including Plaintiff and A.W. This action involves mental
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                                                                                       Woodinville, WA 98072
                                                                                                (844) 503-5301
                 Case 2:24-cv-00154-KKE Document 1 Filed 02/05/24 Page 3 of 11




 1   health claims guaranteed under the Plan and denied by Premera and/or its services administrator and
 2   guaranteed under the Plan.
 3                                                         FACTS
 4             10.       The Plan guarantees, warrants, and promises “Mental Health Care” for members and their
 5   beneficiaries, including but not limited to: health care services, mental health care, and treatment at issue
 6   herein.
 7             11.       A.W. is BRIAN W.’s son, and was, at all relevant times, a beneficiary of the Plan.
 8             12.       At all relevant times, A.W. was a beneficiary under the Plan within the meaning
 9   of ERISA section 3(1), 29 U.S.C. § 1002(1).
10             13.       BRIAN W. was the individual responsible for A.W.’s health care costs, and did in
11   fact pay the out-of-pocket expenses for A.W.’s mental health treatment at issue herein that was
12   denied by Premera.
13             14.       At all relevant times, the Plan was in full force and effect.
14             15.       The Plan guarantees, promises, and warrants benefits for medically necessary covered
15   health care services.
             16.    The Plan defines “Medically Necessary” services as follows:
16

17             Those covered services and supplies that a physician, exercising prudent clinical

18             judgement, would provide to a patient for the purpose of preventing, evaluating,
19             diagnosing or treating an illness, injury, disease or its symptoms and that are:
20
                     •   In accordance with generally accepted standards of medical practice.
21
                     •   Clinically appropriate, in terms of type, frequency, extent, site, and duration, and
22
                         considered effective for the patient’s illness, injury, or disease; and
23

24                   •   Not primarily for the convenience of the patient, Physician or other health care

25                       Provider.
26

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28   Case No.:                                                       14241 NE Woodinville-Duvall Road, Suite 382
                                                                                         Woodinville, WA 98072
                                                                                                  (844) 503-5301
                 Case 2:24-cv-00154-KKE Document 1 Filed 02/05/24 Page 4 of 11




 1           17.       “Generally accepted standards of medical practice" is defined as “standards that are based
 2   on credible Scientific Evidence published in Peer-Reviewed Medical Literature generally recognized by
 3   the relevant medical community, Physician Specialty Society recommendations and the views of
 4   Physicians and other health care Providers practicing in relevant clinical areas and any other relevant
 5   factors.”
 6           18.       The Plan guarantees coverage for inpatient and outpatient treatment of mental
 7   health conditions.
 8           19.       The plan also covers treatment by out-of-network/non-contracting providers when
 9   it is medically necessary. The plan states:
10                 •   You may receive benefits for these services at the in-network cost-share if the
11                     services are medically necessary and only available from an out-of-network
12                     provider. You or your provider may request a pre-approval for the in-network
13                     benefit before you see the out-of-network provider.
14           20.       Premera’s contract is governed by Washington law, including the Washington State
15   Mental Health Parity Act (“State Parity Act”). See RCW 48.18.510. As a result, Premera’s policy
16   includes as additional “terms of the plan,” the requirements of the Washington Mental Health
17   Parity Act (“State Parity Act”) See Z.D. v. Grp Health Coop., 829 F. Supp. 2d 1009, 1013 (W.D.
18   Wash. 2011).
19           21.       The Washington Parity Act as well as the Federal Mental Health Parity and
20   Addictions Equity Act of 2008 (“MHPAEA”) specifically require that health care plans provide
21   medically necessary diagnosis, care and treatment for the treatment of specified mental health
22   illnesses at a level equal to the provision of benefits for physical illnesses.
23           22.       A.W. has long history of multiple comorbid mental health conditions which, despite
24   ongoing outpatient treatment, worsened to the point that he was a danger to himself and others.
25           23.       At all times relevant, A.W. was diagnosed with co-occurring anxiety and depressive
26   disorders, attention deficit hyperactivity disorder (ADHD) – inattentive type; autism spectrum
27                                                      4
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28   Case No.:                                                   14241 NE Woodinville-Duvall Road, Suite 382
                                                                                     Woodinville, WA 98072
                                                                                              (844) 503-5301
               Case 2:24-cv-00154-KKE Document 1 Filed 02/05/24 Page 5 of 11




 1   disorder and an eating disorder best characterized as anorexia nervosa-binge purge type; and
 2   parent-child relational problems.
 3          24.     A.W. has a history of dysregulated mood, severe symptoms of anxiety, and
 4   aggressive behavior directed towards his family.
 5          25.     A.W. has expressed suicidal ideations since he was four and half year old, often
 6   articulating that the wanted to die and he hated his life. He began acting on his suicidal ideations
 7   by wielding knives while saying he was going to hurt himself or others.
 8          26.     A.W. has behaved erratically, violently, and dangerously. A.W. has been admitted
 9   twice to the Psychiatric and Behavioral Medicine Unit at Seattle Children’s Hospital on psychiatric
10   holds due to his behaviors.
11          27.     A.W.’s behavior was so violent and severe that Child Protective Services became
12   involved after a behavioral professional reported concern for A.W.’s brother’s safety in the family
13   household.
14          28.     A.W.’s treating providers determined that A.W. required a higher level of therapy,
15   structure, and security than could be provided on an outpatient basis.
16                        Premera’s Wrongful Denial of A.W.’s Treatment at Cherry Gulch
17          29.     As a result of his worsening condition, the failure of prior treatment attempts, and at the
18   recommendation of his treatment providers, A.W. was admitted to Cherry Gulch a residential treatment
19   center in Emmett, Idaho.
20          30.     At all times relevant, A.W.’s treatment at Cherry Gulch was medically necessary, based
21   upon the reasoned medical opinions of A.W.’s mental health treatment providers.
22          31.     At all times relevant, Cherry Gulch was an organization which duly licensed to provide
23   medical or surgical services, and satisfied the plan’s definition of Provider.
24          32.     Plaintiff filed claims for mental health benefits with Premera for A.W.’s treatment at
25   Cherry Gulch
26          33.     Premera and/ or its utilization review service provider denied Plaintiff’s claim.
27                                                     5
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28   Case No.:                                                 14241 NE Woodinville-Duvall Road, Suite 382
                                                                                   Woodinville, WA 98072
                                                                                            (844) 503-5301
               Case 2:24-cv-00154-KKE Document 1 Filed 02/05/24 Page 6 of 11




 1          34.     Plaintiff timely appealed Primera’s claim denials.
 2          35.     Premera, both individually and by and through its utilization review service provider, on
 3   behalf of the plan, denied Plaintiff’s appeal.
 4          36.     As a result of Premera’s denials, Plaintiff was forced to pay for A.W.’s care and treatment
 5   at Cherry Gulch from his own personal funds.
 6          37.     Plaintiff has exhausted all administrative remedies regarding the denial of A.W.’s mental
 7   health benefits at Cherry Gulch.
 8                   Premera’s Wrongful Denial of A.W.’s Treatment at Heritage School
 9          38.     Following A.W.’s treatment at Cherry Gulch, A.W. was admitted to Viewpoint, a short-
10   term residential diagnostic and assessment program.
11          39.     While Premera initially denied A.W.'s treatment at Viewpoint as not medically necessary,
12   that decision was overturned on appeal by an independent review organization.
13          40.      At the recommendation of his treatment providers at Viewpoint, he was admitted to
14   Heritage School, a specialized residential treatment center for adolescents with autism in Provo Utah.
15          41.     At all times relevant, A.W.’s treatment at Heritage was medically necessary, based upon
16   the reasoned medical opinions of his treaters.
17          42.     At all times relevant, A.W.’s treatment at Heritage was a covered benefit under the Plan.
18          43.     Premera denied Plaintiff’s claims for A.W.’s treatment at Heritage, stating “Your plan
19   does not provide benefits for services that are not medically necessary. This includes services, drugs or
20   supplies that are not clinically appropriate, in terms of type, frequency, extent, site and duration, and not
21   considered effective for the patient's illness, injury or disease. Your plan does not provide benefits for
22   residential treatment for treatment of mental health or psychiatric conditions”
23          44.     The Patient Protection and Affordable Care Act (“PPACA”) requires that a health plan
24   “[m]maintains a network that is sufficient in number and type of providers, including providers that
25   specialize in mental health and substance abuse.” 45 CFR §156.230.
26

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     COMPLAINT                                                            MONAHAN TUCKER LAW, PC
28   Case No.:                                                  14241 NE Woodinville-Duvall Road, Suite 382
                                                                                    Woodinville, WA 98072
                                                                                             (844) 503-5301
                 Case 2:24-cv-00154-KKE Document 1 Filed 02/05/24 Page 7 of 11




 1             45.     Premera has failed to maintain an adequate provider network as required by PPACA as
 2   evidenced by its lack of in-network intermediate behavioral health providers equipped to treat A.W.’s
 3   condition.
 4             46.     Additionally, the plan covers out-of-network treatment when it is medically necessary.
 5             47.     Plaintiff timely appealed Premera’s denials of A.W.’s claims for treatment at Heritage.
 6             48.     As a result of Premera’s denials, Plaintiff was forced to pay for A.W.’s care and treatment
 7   at Heritage from his own personal funds.
 8             49.     Plaintiff has exhausted all administrative remedies regarding the denial of A.W.’s mental
 9   health benefits at Heritage.
                                                CLAIMS FOR RELIEF
10
                     FIRST CAUSE OF ACTION (Against Defendant PREMERA BLUE CROSS OF
11                   WASHINGTON; Enforcement and Clarification of Rights, Prejudgment an Post
                      Judgment Interest, and Attorney’s Fees and Costs, Pursuant to ERISA Section
12                                   502(a)(1)(B), 29 U.S.C. Section 1132(a)(1)(B))
13             50.     Plaintiff incorporates all preceding paragraphs of this Complaint as though fully set forth

14   herein.

15             51.     ERISA Section 502(a)(1)(B), 29 U.S.C. Section 1132(a)(1)(B) permits a plan participant

16   to bring a civil action to recover benefits due under the terms of the plan and to enforce Plaintiff’s rights

17   under the terms of a plan

18             52.     At all relevant times, Plaintiff and his son A.W. were insured under the health care plan

19   at issue herein, and Plaintiff’s son A.W. met the covered health services and medical necessity criteria

20   for treatment required under the terms and conditions of the Plan.

21             53.     By denying Plaintiff’s mental health claim, Defendant has violated, and continues to

22   violate, the terms of the Plan, the terms of ERISA, and Plaintiff’s rights thereunder.

23             54.     The provisions of an ERISA plan should be construed so as to render none nugatory and

24   to avoid illusory promises

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27                                                      7
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28   Case No.:                                                   14241 NE Woodinville-Duvall Road, Suite 382
                                                                                     Woodinville, WA 98072
                                                                                              (844) 503-5301
                 Case 2:24-cv-00154-KKE Document 1 Filed 02/05/24 Page 8 of 11




                                    SECOND CAUSE OF ACTION
 1
          Breach of Fiduciary Duty Under ERISA § 502(a)(3), 29 U.S.C. Section 1132(a)(3)
 2                (against Defendant PREMERA BLUE CROSS OF WASHINGTON)

 3             55.      Plaintiff incorporates all preceding paragraphs of this Complaint as though fully set forth

 4   herein.

 5             56.       At all material times herein, Defendant was a fiduciary with respect

 6   to its exercise of authority over the management of the Policy, disposition of Plan assets, and

 7   administration of the Policy.

 8             57.      Plaintiff asserts that a claim for benefits due under the Policy does not provide him with an

 9   adequate remedy at law in light of Defendant’s continuing course of conduct in violating the terms of the

10   Policy and applicable law as described below.

11             58.      ERISA § 404(a)(1)(A), 29 U.S.C. § 1104(a)(1)(A), requires fiduciaries to discharge their

12   duties solely in the interests of employee benefit plan participants and beneficiaries and for the exclusive

13   purpose of providing benefits and defraying reasonable expenses of administering the plan.

14             59.       ERISA § 404(a)(1)(B), 29 U.S.C. § 1104(a)(1)(B), requires fiduciaries to discharge their

15   duties with the care, skill, prudence, and diligence under the circumstances then prevailing that a prudent

16   man acting in like capacity and familiar with such matters would use in the conduct of an enterprise of a

17   like character and with like aims.

18             60.       ERISA § 404(a)(1)(D), 29 U.S.C. § 1104(a)(1)(D), requires fiduciaries to discharge their

19   duties in accordance with the documents and instruments governing the plan insofar as such documents

20   and instruments are consistent with the provisions of ERISA.

21             61.       In committing the acts and omissions herein alleged, Defendant breached its fiduciary

22   duties in violation of ERISA §§ 404(a)(1)(A), (B) and (D), 29 U.S.C. §§ 1104(a)(1)(A)(B) and (D).

23             62.      At all material times herein, Defendant violated these duties by, inter alia, the following:

24                   A. Consciously, unreasonably, intentionally, and without justification, violating

25                      Washington’s Mental Health Parity Act, RCW 48.18.510, as well as the Federal

26                      Mental Health Parity and Addictions Equity Act of 2008 (“MHPAEA”) which

27                                                        8
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28   Case No.:                                                    14241 NE Woodinville-Duvall Road, Suite 382
                                                                                      Woodinville, WA 98072
                                                                                               (844) 503-5301
              Case 2:24-cv-00154-KKE Document 1 Filed 02/05/24 Page 9 of 11




 1                   specifically require that health care plans provide medically necessary diagnosis,
 2                   care and treatment for the treatment of specified mental health illnesses at a level
 3                   equal to the provision of benefits for physical illnesses;
 4                B. Consciously and unreasonably failing to investigate all bases upon which to pay
 5                   and honor Plaintiff’s claim, and related claims and/or similar claims, for benefits,
 6                   and consciously and unreasonably failing to investigate all bases to support
 7                   coverage fairly and in good faith and refusing to give Plaintiff’s interests or the
 8                   interests of the Plan at least as much consideration as they gave their own;
 9                C. Consciously and unreasonably asserting improper bases for denying full payment
10                   of Plaintiff’s claim, and related claims and/or similar claims, for mental health care
11                   benefits;
12                D. Consciously and unreasonably interpreting the Plan in a manner designed to deny
13                   and minimize benefits and in a manner that thwarts the reasonable expectations of
14                   the Plan’s beneficiaries and participants in order to maximize its own profits and
15                   minimize the benefits that it pays claimants;
16                E. Consciously and unreasonably refusing to pay Plaintiff’s claim, and related claims
17                   and/or similar claims, with the knowledge that Plaintiff’s claim and similar claims
18                   are payable and with the intent of boosting profits at Plaintiff’s and other claimants’
19                   expense; and
20                F. Consciously and unreasonably failing to follow the terms of the Plan and applicable
21                   regulations governing the administration of claims, and the review of denied claims.
22          63.      As a result of Defendant’s breaches of fiduciary duty, Plaintiff has been harmed,
23   and the Defendant has been permitted to retain assets and generate earnings on those assets to
24   which Defendant was not entitled.
25          64.      Plaintiff further requests judgment permanently enjoining Defendant Premera from
26   refusing to cover intermediate forms of mental health treatment, such as the residential treatment at issue
27                                                      9
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28   Case No.:                                                  14241 NE Woodinville-Duvall Road, Suite 382
                                                                                    Woodinville, WA 98072
                                                                                             (844) 503-5301
              Case 2:24-cv-00154-KKE Document 1 Filed 02/05/24 Page 10 of 11




 1   herein, when it is medically necessary. In addition, Plaintiff seeks appropriate equitable relief from
 2   Defendant including an order by this Court that, based upon principles of waiver and/or estoppel, Plaintiff
 3   is entitled to benefits in the amount of the cost of A.W.’s treatment at Cherry Gulch and Heritage. In
 4   addition, Plaintiff seeks disgorgement of profits, make-whole relief, and that Plaintiff be placed in the
 5   position that he would have been in had he been paid the full amount of benefits to which he is entitled,
 6   including, without limitation, interest, attorneys’ fees and other losses resulting from Defendant’s breach.
 7                                            PRAYER FOR RELIEF
 8                                         AS TO ALL DEFENDANTS
 9          WHEREFORE, Plaintiff prays that the Court grant the following relief:
10          65.     Declare that Defendant violated the terms of the Plan by failing to provide mental
11   health benefits;
12          66.     Order Defendant to pay the mental health benefits due, together with prejudgment
13   interest on each and every such benefit payment through the date of judgment at the rate of 9%
14   compounded;
15          67.     Award Plaintiff reasonable attorneys’ fees and costs of suit incurred herein pursuant
16   to ERISA Section 502(g), 29 U.S.C. Section 1132(g);
17          68.     Provide such other relief as the Court deems equitable and just.
18          WHEREFORE, Plaintiff prays that the Court grant the following relief as to the
19   SECOND CAUSE OF ACTION:
20          69.     Order that each fiduciary found liable for breaching his/her/its duties to disgorge
21   any profits made through the denial of medically necessary claims through the application of Plan
22   term definitions and/or exclusions that violate the parity acts. This includes, but is not limited to,
23   any violation of ERISA §§ 404 and 406;
24          70.     For appropriate equitable relief pursuant to 29 U.S.C. §§ 1132(a)(2) and (a)(3),
25   including but not limited to, a declaration of Plaintiff’s rights to a full and fair review under
26   ERISA, and a declaration of Plan participants’ and beneficiaries’ rights to a full and fair review;
27                                                     10
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28   Case No.:                                                  14241 NE Woodinville-Duvall Road, Suite 382
                                                                                    Woodinville, WA 98072
                                                                                             (844) 503-5301
             Case 2:24-cv-00154-KKE Document 1 Filed 02/05/24 Page 11 of 11




 1          71.       For surcharge relief;
 2          72.       An injunction against further denial of Plaintiff’s benefits pursuant to 29 U.S.C.
 3   §§ 1132(a)(3);
 4          73.       Provide such other relief as the Court deems equitable and just.
 5

 6   Dated February 5, 2024                         Respectfully submitted,
 7                                                  MONAHAN TUCKER LAW, PC
 8

 9                                                  By: /s/ Stacy M. Tucker                  ___
                                                    Stacy M. Tucker
10                                                  WSBA 43449
                                                    Attorneys for Plaintiff
11                                                  BRIAN W.
                                                    MONAHAN TUCKER LAW, PC
12                                                  14241 NE Woodinville-Duvall Road, Suite 382
                                                    Woodinville, WA 98072
13                                                  Telephone: (844) 503-5301
                                                    Facsimile: (206) 800-7801
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28   Case No.:                                                  14241 NE Woodinville-Duvall Road, Suite 382
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